TMT RUM ULE Om (ALUN Ae Relea ero

United States Bankruptcy Court for the:
Northern District of Ohio

Case number (if known) Chapter you are filing under:
Chapter 7
QO) Chapter 11
() Chapter 12 spasag
OQ Chapter 13 CO) Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ee orev Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
4. Your full name
Write the name thatis on your = James
government-issued picture
identification (for example, Firstname Firstname
your driver's license or Ronald
passport). Middle name Middle name
Burns

Bring your picture
identification to your meeting Last name Last name
with the trustee.

Suffix (Sr., Jr. Hl, 1H) Suffix (Sr., Jr., Hl, IH)
2. All other names you
have used in the last 8 First name First name
years
include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
; : = = 5 - xx -
your Social Security BOR ae Bo 1 amr =
number or federal OR OR
Individual Taxpayer 9 9
Identification number XX XX XX = KX =
(ITIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Debtor 1 James __ Richard Burns
First Name Middle Name Last Name
About Debtor 1:

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Form 101

(J | have not used any business names or EINs.

Brookston G.C. by Design, Inc.

Business name

Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

CJ | have not used any business names or EINs.

Business name

Business name

2159 Meloy Road

Business name

EIN

EIN

lf Debtor 2 lives at a different address:

Number Street Number Street

Kent OH 44240

City State ZIP Code City State ZIP Code
Portage

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

Number Street

P.O. Box

City State ZIP Code

Check one:

a Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

() | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street

P.O, Box

City State ZIP Code

Check one:

() Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

CJ | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Voluntary Petition for Individuals Filing for Bankruptcy page 2
Debtor 1

James

Richard

Burns

Case number (if known),

First Name

Middle Name

Last Name

Tell the Court About Your Bankruptcy Case

7.

10.

11,

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Wi Chapter 7

QC) Chapter 11
C) Chapter 12
LJ Chapter 13

4 1 will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CL] | need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A),

CJ | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

4 No
L) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
Wi No
CJ) Yes. Debtor Relationship to you
District When Case number, if known
MM/DO /Y¥YY
Debtor Relationship to you
District When Case number, if known.
MM/DD/YYYY
LINo. Go to line 12,
W Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

W No. Go to line 12.

L) Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor 1 James Richard Burns Case AU NIBEE Uren

First Name Middle Name

Last Name

Cr Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor

13.

of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

W1 No. Go to Part 4.

() Yes. Name and location of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

L] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

LJ Commodity Broker (as defined in 11 U.S.C. § 101(6))

L] None of the above

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. |amnot filing under Chapter 11.

LJ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

C) Yes. lam filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14,

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

(J No

C] Yes. What is the hazard?

If immediate attention is needed, why is it needed?

Where is the property?

Number Street

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1 James Richard Burns

First Name Middle Name

Last Name

Case number (it known)

a Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

bd | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CL) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

L) tam not required to receive a briefing about
credit counseling because of:

C) incapacity. | have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one;

CL) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

CL) | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

CJ | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file,
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5
Debtor 1 James _ Richard Burns Case number (if nown)

First Name Middle Name Last Name

Eo Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

@ No. Go to line 16b.
Q) Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

L) No. Go to line 16c.
W Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

17. Are you filing under

Chapter 7? LC} No. | am not filing under Chapter 7. Go to line 18.

Do you estimate that after UW Yes. 1am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and C) No

administrative expenses

are paid that funds will be id Yes

available for distribution
to unsecured creditors?

18. Howmany creditorsdo 1-49 CL) 1,000-5,000 CL) 25,001-50,000
you estimate that you LJ 50-99 LJ 5,001-10,000 (J 50,001-100,000
owe? Q) 100-199 © 10,001-25,000 C) More than 100,000
LJ 200-999
19. How much do you J $0-$50,000 LJ $1,000,001-$10 million (J $500,000,001-$1 billion
estimate your assets to =} $50,001-$100,000 LJ $10,000,001-$50 million LJ $1.000,000,001-$10 billion
be worth? CL) $100,001-$500,000 CJ $50,000,001-$100 million ( $10,000,000,001-$50 billion
LJ $500,001-$1 million LJ $100,000,001-$500 million CJ More than $50 billion
20. How much do you L) $0-$50,000 C) $1,000,001-$10 million (J $500,000,001-$1 billion
estimate your liabilities LJ $50,001-$100,000 () $10,000,001-$50 million CJ $1,000,000,001-$10 billion
to be? W $100,001-3500,000 (J $50,000,001-$100 million CJ $10,000,000,001-$50 billion
L] $500,001-$1 million C) $100,000,001-$500 million CJ More than $50 billion

wi Sign Below

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both,
18 U.S.C. §§ 152, 1341, 1519, and 3571.

Quw> x
i Signature of Debtor 2
Executed on | 7 9015 Executed on

MM yoopo MM/ DD /YYYY

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 6
Debtor 1 James Richard Burns

First Name Middle Narne

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

Official Form 101

Last Name

Case number (if known)

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12. or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the jnformation in the schedules filed with the petition is incorrect.

x lee ON ei

Signature of Attorney for Debtor

E. Lee Wagoner

Date o- © 5

MM | DD /¥Y¥YY

Printed name

Law Office of E. Lee Wagoner

Firm name

2351 Becket Circle

Number Street

Stow

OH 44224

City

Contact phone (330) 322-1399

0037833

State ZIP Code

Email address €lWagoner@yahoo.com

OH

Bar number

State

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